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    7   Washington, D.C. 20006
        Tel: (202) 263-3007
    8   Fax: (202) 263-5207
    9   Attorneys for Relator
        ISLAND INDUSTRIES, INC.
   10

   11
                             UNITED STATES DISTRICT COURT
   12
                           CENTRAL DISTRICT OF CALIFORNIA
   13

   14

   15   UNITED STATES OF AMERICA ex rel. Case No. 2:17-cv-04393-RGK-KS
        ISLAND INDUSTRIES, INC.,
   16                                    NOTICE OF SUBPOENA TO
                      Plaintiff,         PRODUCE DOCUMENTS,
   17                                    INFORMATION, OR OBJECTS
              v.                         OR TO PERMIT INSPECTION TO
   18                                    ISLAND INDUSTRIES, INC.
        VANDEWATER INTERNATIONAL
   19   INC., et al.,
   20                      Defendant.
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           NOTICE OF SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
                           INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO. 2:17-CV-04393-RGK-KS
        733897111.1
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    1           PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of
    2   Civil Procedure, Island Industries, Inc., is serving the subpoena attached as Exhibit
    3   A hereto on FM Global.
    4           The subpoena compels FM Global to produce the documents, including
    5   electronically stored information, as set forth in the Requests for Production
    6   attached to the subpoena.       The subpoena commands FM Global to produce
    7   documents or otherwise make such documents available for inspection at Mayer
    8   Brown LLP located at 350 S. Grand Ave., Fl. 25, Los Angeles, California 90071,
    9   no later than November 4, 2019 at 9:00 a.m. No testimony is required by this
   10   subpoena.
   11

   12
        Dated: October 4, 2019              MAYER BROWN LLP
   13                                       MATTHEW H. MARMOLEJO
                                            KELLY B. KRAMER
   14

   15
                                            By:    ___________________________________
   16                                              Matthew H. Marmolejo
                                            Attorneys for Plaintiff-Relator Island Industries, Inc.
   17                                       Email: mmarmolejo@mayerbrown.com
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            NOTICE OF SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
                            INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO. 2:17-CV-04393-RGK-KS
         733897111.1
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                             Exhibit A
    Case 2:17-cv-04393-RGK-KS Document 135 Filed 10/04/19 Page 4 of 12 Page ID #:1279
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Central DistrictDistrict
                                                      __________      of California
                                                                              of __________
 United States of America ex rel. Island Industries, Inc
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:17-cv-04393-RGK-KS
            Vandewater International Inc., et al.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                       FM Global

                                                       (Name of person to whom this subpoena is directed)

    " Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Requests for Production of Documents and Instructions listed in Attachment A.



  Place: Mayer Brown LLP                                                                Date and Time:
           350 S. Grand Avenue, Fl. 25                                                                       11/04/2019 9:00 am
           Los Angeles, CA 90071

     " Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/04/2019

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Island Industries,
Inc.                                                                     , who issues or requests this subpoena, are:
Matthew H. Marmolejo, 350 S. Grand Ave., Fl. 25., Los Angeles, CA 90071. mmarmolejo@mayerbrown.com (213)
229-9500.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 2:17-cv-04393-RGK-KS Document 135 Filed 10/04/19 Page 5 of 12 Page ID #:1280
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:17-cv-04393-RGK-KS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            " I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            " I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
    Case 2:17-cv-04393-RGK-KS Document 135 Filed 10/04/19 Page 6 of 12 Page ID #:1281
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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    1                           ATTACHMENT A TO SUBPOENA
    2           Pursuant to Rules 26 and 45(a)(1)(D) of the Federal Rules of Civil
    3   Procedure, and pursuant to the preceding Subpoena, Plaintiff-Relator Island
    4   Industries Inc., compels FM Global to produce documents and things responsive to
    5   each of the categories of documents described in the Requests below.
    6

    7                                      DEFINITIONS
    8           1.     “YOU” or “YOUR” means FM Global (“FM”), and any of its agents,
    9   employees, or representatives, including brokers acting on YOUR behalf.
   10           2.     “DEFENDANTS” means all named defendants in this action,
   11   including Vandewater International Inc., Neil Reubens, Anvil International, LLC,
   12   Sigma Corporation, Smith Cooper International, and Allied Rubber & Gasket
   13   Company.
   14           3.     “RELATING TO” means showing or indicating knowledge of,
   15   constituting, comprising (in whole or in part), consisting of, recording, mentioning,
   16   regarding or in any manner referring or relating to, either directly or indirectly.
   17           4.     “DOCUMENTS” means all things a party may request any other party
   18   to produce and permit the requesting party to inspect and copy pursuant to Rule 34
   19   of the Federal Rules of Civil Procedure, including but not limited to any written or
   20   any other tangible thing of every kind and description, however produced or
   21   reproduced, whether draft or final, original or reproduction, in the actual or
   22   constructive possession, custody, or control of Plaintiff, such as letters,
   23   correspondence, notes, intranet and internet e-mail, films, transcripts, telegrams,
   24   teletype messages, contracts and agreements (including drafts, proposals and any
   25   modifications thereof), affidavits, licenses, memoranda, transcripts, recordings of
   26   telephone conversations or personal conversations, microfilm, microfiche, books,
   27   newspapers, advertisements, periodicals, bulletins, circulars, pamphlets, statements,
   28                                              1
                ATTACHMENT A TO ISLAND INDUSTRIES, INC., SUBPOENA TO PRODUCE DOCUMENTS,
         INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO.
                                                                        2:17-CV-04393-RGK-KS
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    1   notices, memoranda for file, pencil jottings, diaries, dairy entries, appointment
    2   books, desk calendars, desk calendar entries, expense accounts, recorded
    3   recollections and any other written form or notation of events or intentions, minutes
    4   and/or resolutions (including any attachments or exhibits thereto, draft minutes,
    5   resolutions and agendas), expressions and/or statements of policy, lists of persons
    6   attending meetings and conferences, rules, regulations, directions, intraoffice or
    7   interoffice communications, reports, records, bills, billing statements, financial
    8   records, financial statements, books of accounts, proposals, prospectuses, offers,
    9   orders, receipts, analyses, audits, computations, projections, tabulations, blueprints,
   10   plans, records, reports, files, writings, drawings, graphs, charts, photographs,
   11   phonorecords and other data compilations from which this information can be
   12   obtained (translated, if necessary, into reasonably usable form), invoices, working
   13   papers, time sheets, logs, movies, tapes for visual audio reproduction, video or
   14   audio recordings, magnetic computer tapes and discs, reports and/or summaries of
   15   investigations, opinions and/or reports of consultants, appraisals, reports and/or
   16   summaries of negotiations, proposals, computer printouts or punch cards, or
   17   material similar to any of the foregoing, however denominated by Defendant. The
   18   term “document” or “documents” shall include all copies of each document if the
   19   copies contain any additional writing or are not identical copies of the originals.
   20           5.     “CHINESE MANUFACTURERS” means any person, factory, or
   21   entity that has sought permission to use the FM Global mark or certification in
   22   connection with WELDED OUTLETS made, in whole or part, in the People’s
   23   Republic of China.
   24           6.     “WELDED OUTLETS” means a forged or formed, threaded or
   25   grooved fitting meeting the ASTM A53 standard that is commonly used in fire
   26   protection systems. WELDED OUTLETS conform with the requirements of NFPA
   27   13 and typically are rated for 300 PSI. WELDED OUTLETS have been marketed
   28                                              2
                ATTACHMENT A TO ISLAND INDUSTRIES, INC., SUBPOENA TO PRODUCE DOCUMENTS,
         INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO.
                                                                        2:17-CV-04393-RGK-KS
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    1   in the United States under a variety of names, including (but not limited to)
    2   “Sprink-let,” “Weld-Out-Let,” Weld-O-Let,” “Welding Outlet,” “Pipe Outlet,”
    3   “Safe-Let,” “Uni-Let,” “COOPLET,” “UL-FM-O-Let,” “T-Let,” “SPF-OLET,”
    4   “Groove-O-Let,” “Grooved Outlet,” and “Grooved Shaped Nipples.”
    5           7.     “And” and “Or” shall be construed either disjunctively or
    6   conjunctively as necessary to bring within the scope of these requests any
    7   information which might otherwise be construed to be outside its scope.
    8           8.     “Any” and “All” shall be construed to include “each” and “each and
    9   every” and vice versa, so as to acquire the broadest meaning possible.
   10

   11                                      INSTRUCTIONS
   12             1.   Documents, and all non-identical drafts, are to be produced in their
   13   entirety as they are maintained in the ordinary course of business without
   14   abbreviation or redaction. Color copies of documents are to be produced where
   15   color is necessary to interpret or understand the contents. To the extent Documents
   16   are produced in hardcopy, each document is to be produced stapled, clipped or
   17   otherwise bound or connected in the same manner as the original. File folders with
   18   tabs or labels or directories of files identifying documents are to be produced intact
   19   with such documents, and Documents attached to each other are not to be
   20   separated.
   21             2.   If any document, communication or electronic information, or any
   22   portion thereof, responsive to a Request is withheld as privileged or subject to
   23   other protection, (a) expressly state the nature of the privilege claim or protection
   24   and (b) describe the nature of the documents, communications or electronic
   25   information withheld in a manner that will enable the parties in this case to assess
   26   the claim.
   27           3.     If any Document requested has been lost, discarded, or destroyed since
   28                                               3
                ATTACHMENT A TO ISLAND INDUSTRIES, INC., SUBPOENA TO PRODUCE DOCUMENTS,
         INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO.
                                                                        2:17-CV-04393-RGK-KS
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    1   its creation, identify the nature of the Document (e.g., letter, email, etc.), the Date
    2   of the Document, the Persons who sent and received the original and any copy of
    3   the Document, a summary of the content of the Document and Describe when,
    4   where, how, and by whom said Document was lost or destroyed, and state the name
    5   of the Person(s) who last had custody thereof.
    6           4.     In responding to these requests, if You encounter any ambiguity in
    7   construing either the request or any instruction relevant to the request, You should
    8   nonetheless respond to the request, set forth the matter deemed ambiguous, and set
    9   forth the construction used in responding to the request. Any ambiguity
   10   encountered shall be resolved so as to construe these requests as broadly as
   11   possible. For any term used herein not specifically defined, the common and usual
   12   meaning of such term is intended.
   13           5.     If no documents exist that are responsive to a particular Request, state
   14   that fact in your response to each such Request.
   15           6.     The period of time encompassed by these requests shall be from the
   16   earliest date that any Defendant submitted to You, a manufacture request to
   17   commence the FM certification process, to present date.
   18

   19                           DOCUMENTS TO BE PRODUCED
   20   REQUEST FOR PRODUCTION NO. 1
   21           All DOCUMENTS RELATING TO DEFENDANTS’ WELDED
   22   OUTLETS.
   23   REQUEST FOR PRODUCTION NO. 2
   24       All DOCUMENTS RELATING TO CHINESE MANUFACTURER’S
   25   WELDED OUTLETS.
   26   REQUEST FOR PRODUCTION NO. 3
   27           All DOCUMENTS RELATING TO WELDED OUTLETS manufactured, in
   28                                               4
                 ATTACHMENT A TO ISLAND INDUSTRIES, INC., SUBPOENA TO PRODUCE DOCUMENTS,
          INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO.
                                                                         2:17-CV-04393-RGK-KS
         733897191.1
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    1   whole or in part, in Vietnam, including but not limited to pending applications to
    2   use the FM listing for WELDED OUTLETS manufactured in Vietnam.
    3   REQUEST FOR PRODUCTION NO. 4
    4           All DOCUMENTS RELATING TO WELDED OUTLETS manufactured, in
    5   whole or in part, in India, including but not limited to pending applications to use
    6   the FM listing for WELDED OUTLETS manufactured in India.
    7   REQUEST FOR PRODUCTION NO. 5
    8       All DOCUMENTS RELATING TO WELDED OUTLETS manufactured, in
    9   whole or in part, by any and all suppliers of WELDED OUTLETS approved by
   10   YOU.
   11

   12

   13
        Dated: October 4, 2019                         MAYER BROWN LLP
   14                                                  MATTHEW H. MARMOLEJO
                                                       KELLY B. KRAMER
   15

   16
                                                       By: /s/ Matthew H. Marmolejo
   17                                                     Matthew H. Marmolejo
   18                                                  Attorneys for Plaintiff-Relator Island
                                                       Industries, Inc.
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                 ATTACHMENT A TO ISLAND INDUSTRIES, INC., SUBPOENA TO PRODUCE DOCUMENTS,
          INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES, INC., CASE NO.
                                                                         2:17-CV-04393-RGK-KS
         733897191.1
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    1                                 PROOF OF SERVICE
    2         I, Simoné Hernandez, declare:
    3         I am employed in Los Angeles County, California. I am over the age of
        eighteen years and not a party to the within-entitled action. My business address is
    4   Mayer Brown LLP, 350 South Grand Avenue, 25th Floor, Los Angeles, California
        90071-1503. On October 4, 2019, I served a copy of the within document(s):
    5
              On October 4, 2019, I served a copy of the following document(s):
    6
        NOTICE OF SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION,
    7   OR OBJECTS OR TO PERMIT INSPECTION TO ISLAND INDUSTRIES,
        INC.
    8
                    by placing the document(s) listed above in a sealed envelope with
    9                postage thereon fully prepaid, in the United States mail at Los Angeles,
                     California addressed as set forth below. I am readily familiar with the
   10                firm's practice of collection and processing correspondence for
                     mailing. Under that practice it would be deposited with the U.S. Postal
   11                Service on that same day (or one business day afterward) with postage
                     thereon fully prepaid in the ordinary course of business. I am aware
   12                that on motion of the party served, service is presumed invalid if postal
                     cancellation date or postage meter date is more than one day after date
   13                of deposit for mailing in affidavit.
   14        Allied Rubber & Gasket Company
             Attention: Siy Belfi – Director
   15        3145 Tiger Run Ct., Suite 105
             Carlsbad, CA 92010
   16
   17
               I declare under penalty of perjury under the laws of the State of California
   18   that the above is true and correct.
   19         Executed on October 4, 2019 at Los Angeles, California.
   20
   21                                                        Simoné Hernandez
   22
   23
   24
   25
   26
   27
   28

                                                 PROOF OF SERVICE; CASE NO. 2:17-CV-04393-RGK-KS
